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     RAYTHEON TECHNOLOGIES
 7   CORPORATION which will do business in
     California as RAYTHEON (CA)
 8   TECHNOLOGIES CORPORATION
 9
10
                                 UNITED STATES DISTRICT COURT
11
                            CENTRAL DISTRICT OF CALIFORNIA
12
13   IAN REED,                                     Case No. 2:22-cv-00405-SB-AS
14                  Plaintiff,                     (Los Angeles Superior Court,
                                                   Case No. 21STCV45512)
15            v.
                                                   DEFENDANT’S NOTICE OF NON-
16   RAYTHEON (CA) TECHNOLOGIES                    OPPOSITION TO PLAINTIFF’S
     CORPORATION, AND DOES 1-50,                   MOTION FOR LEAVE TO FILE
17   inclusive,                                    FIRST AMENDED COMPLAINT
18                  Defendants.                    Date: April 29, 2022
                                                   Time: 9:00 a.m.
19                                                 Ctrm: 6C
20                                                 Complaint Filed: December 16, 2021
                                                   Trial Date:      None Set
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                                    NOTICE OF NON-OPPOSITION
     81804092v.1
     Case 2:22-cv-00405-SB-AS Document 26 Filed 04/08/22 Page 2 of 3 Page ID #:216



 1            TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
 2   DISTRICT OF CALIFORNIA AND TO PLAINTIFFS AND THEIR ATTORNEY
 3   OF RECORD:
 4            PLEASE TAKE NOTICE THAT Defendant Raytheon Technologies
 5   Corporation which will do business in California as Raytheon (CA) Technologies
 6   Corporation (“RTX”) does not oppose the request made by Plaintiff Ian Reed in his
 7   Motion for Leave to File First Amended Complaint, which is scheduled for hearing on
 8   April 29, 2022, at 9:00 a.m., in Courtroom 6C of the above-entitled Court. (See Dkt.
 9   No. 18-1.)
10
11
     DATED: April 8, 2022                       Respectfully submitted,
12
                                                SEYFARTH SHAW LLP
13
14
                                                By:
15                                                    Jamie C. Pollaci
                                                      Sumithra R. Roberts
16                                                    Attorneys for Defendant
                                                      RAYTHEON TECHNOLOGIES
17                                                    CORPORATION which will do business in
                                                      California as RAYTHEON (CA)
18                                                    TECHNOLOGIES CORPORATION
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                                  NOTICE OF NON-OPPOSITION
     81804092v.1
     Case 2:22-cv-00405-SB-AS Document 26 Filed 04/08/22 Page 3 of 3 Page ID #:217



 1                                            PROOF OF SERVICE

 2   STATE OF CALIFORNIA                               )
                                                       )   SS
 3   COUNTY OF LOS ANGELES                             )

 4          I am a resident of the State of California, over the age of eighteen years, and not a party to the
     within action. My business address is 2029 Century Park East, Suite 3500, Los Angeles, California
 5   90067-3021. On April 8, 2022, I served the within document(s):

 6         DEFENDANT’S NOTICE OF NON-OPPOSITION TO PLAINTIFF’S MOTION FOR
        LEAVE TO FILE FIRST AMENDED COMPLAINT
 7
           (BY MAIL) by placing the document(s) listed above in a sealed envelope with postage thereon
 8    
       fully prepaid, in the United States mail at Los Angeles, California, addressed as set forth below.

 9         (BY HAND DELIVERY) by delivering the document(s) listed above to Nationwide Legal, Inc.
      
       for delivery to the person(s) at the address(es) set forth below with instructions that such
10         envelope be personally delivered on _______, 2022.

11         (BY OVERNIGHT MAIL) by placing the document(s) listed above in a sealed envelope or
      
       package provided by an overnight delivery carrier with postage paid on account and deposited
12         for collection with the overnight carrier at Los Angeles, California, addressed as set forth below.

13         (BY ECF) by transmitting the document(s) listed above, electronically, via the Court’s
      
       electronic ECF system.
14
            Terry K. Davis, Esq.
15          12711 Newport Avenue, Suite D
            Tustin, CA 92780
16          Email: davislaw@netzero.com

17          Attorney for Plaintiff Ian Reed
18
             I am readily familiar with the firm's practice of collection and processing correspondence for
19   mailing. Under that practice it would be deposited with the U.S. Postal Service on that same day with
     postage thereon fully prepaid in the ordinary course of business. I am aware that on motion of the party
20   served, service is presumed invalid if postal cancellation date or postage meter date is more than one day
     after date of deposit for mailing in affidavit.
21
            I declare under penalty of perjury under the laws of the State of California that the above is true
22   and correct.

23          Executed on April 8, 2022, at Los Angeles, California.

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                                                                          Dana M. Hass
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                                              PROOF OF SERVICE
